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                         UNITED STATES DISTR ICT COURT
                        SOUTHERN DISTR ICT OF MISS ISS IP PI
                              NORTHERN DIVISION


ALYSSON MILLS, IN HER CAPACITY                      Case No. ______________
AS RECEIVER FOR ARTHUR LAMAR
ADAMS AND MADISON TIMBER                            Arising out of Case No. 3:18-cv-252,
PROPERTIES, LLC,                                    Securities and Exchange Commission v.
                                                    Arthur Lamar Adams and Madison Timber
               Plaintiff,                           Properties, LLC

        v.                                          Hon. Carlton W. Reeves, District Judge

MICHAEL D. BILLINGS and
MDB GROUP, LLC;
TERRY WAYNE KELLY, JR. and
KELLY MANAGEMENT, LLC;
and WILLIAM B. MCHENRY, JR. and
FIRST SOUTH INVESTMENTS, LLC,

               Defendants.



                                         (PROPOSED)

                                             ORDER

        The Court has received the Joint Motion for Entry of Order filed by Plaintiff Alysson Mills,

in her capacity as the court-appointed receiver for Arthur Lamar Adams and Madison Timber

Properties, LLC (the “Receiver”), and Defendants Terry Wayne Kelly, Jr. and Kelly Management,

LLC (collectively “Defendants”).

        The Receiver has filed a Complaint against Defendants that seeks to recover

“commissions” Defendants received from Arthur Lamar Adams and Madison Timber Properties,

LLC. In the interests of all, the parties desire to resolve the Receiver’s claims against Defendants

amicably, to minimize time and expense to the Receivership Estate, Defendants, and the Court.



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The parties request that the Court enter an order that will encourage the parties’ negotiations by

establishing a timeline and parameters.

        The Court is mindful that litigation is expensive and the Receiver’s objective is to

maximize funds available for distribution to victims. The Court finds the parties’ request is

appropriate, therefore their motion is GRANTED.

        Accordingly, it is hereby ORDERED:


        a. Within five days [on or before October 6, 2018] Defendants shall make 1) a full and
           complete financial disclosure, using the form provided by the Receiver; and 2) one or
           more good faith proposals to resolve the Receiver’s claims against Defendants relating
           to the “commissions” they received from Madison Timber.

        b. The Receiver shall consider in good faith any proposal by Defendants and shall reply to
           it within five days [on or before October 11, 2018].

        c. Thereafter the parties shall have an additional five days [on or before October 16,
           2018] to work to reach an agreement to resolve the Receiver’s claims against
           Defendants relating to the “commissions” they received from Madison Timber. The
           Receiver has no obligation to accept any proposal by Defendants and has no obligation
           to make a counter-proposal. The acceptance or rejection of all or part of any proposal
           shall be solely at the discretion of the Receiver.

        d. The parties’ negotiations shall be confidential and subject to all of the protections of
           Federal Rule of Evidence 408.

        e. Any information shared by either party during this fifteen-day period [through and
           including October 16, 2018] shall be treated as confidential, as follows:

              i. “Confidential” may be used to describe material that contains 1) information
                 prohibited from disclosure by law; 2) financial information that a party has
                 treated as confidential in the ordinary course of business; 3) a party’s income tax
                 returns, including attached schedules and forms; and 4) any person’s social
                 security number or other identifying information.

             ii. Any party may designate any material “Confidential.” By designating any
                 material “Confidential” a party’s counsel certifies that the material contains
                 “Confidential” information as defined above.

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             iii. The parties and their counsel shall not disclose any material designated
                  “Confidential” to any third person or entity, except that they may disclose it to a
                  consultant or expert employed by the parties and their counsel to assist in them in
                  the prosecution or defense of the claims in the Complaint.

             iv. If, in the prosecution or defense of the claims in the Complaint, the parties desire
                 to submit any material designated “Confidential” to the Court, they shall do so
                 under seal.

        f. During this fifteen-day period [through and including October 16, 2018] the parties
           shall not file any motion or pleading against the other into the Court’s record, unless by
           consent; shall not make formal discovery requests of the other, unless by consent; and
           shall not take any other action in this Court that would require a response by the other.
           Nothing herein affects the Receiver’s rights to take any action in this Court against
           other defendants named in the Complaint, including by filing motions and pleadings
           and making formal discovery requests.

        g. During this fifteen-day period [through and including October 16, 2018] Defendants,
           individually and collectively, shall not, directly or indirectly:

              i. transfer, sell, convey, disburse, dispose of, mortgage, encumber, or otherwise
                 transfer any property of any type or description in which any Defendant has any
                 legal, equitable, or other interest, including, but not limited to, any stocks, bonds,
                 negotiable instruments, certificates of deposit, notes, cash, personal property,
                 furniture, fixtures or equipment, real estate, other tangible or intangible property
                 of any type, or any inchoate or choate interests; provided, however, that
                 Defendants may make cash disbursements up to the maximum amount and in the
                 aggregate of $7,500;

             ii. incur any indebtedness, confess to judgment, or otherwise acknowledge any
                 obligation, debt, or other liability or obligation; or mortgage, permit a lien upon,
                 or encumber any property of any type or description; provided, however, that
                 Defendants may, together, incur indebtedness in the ordinary course of business
                 up to the maximum amount of $2,500; or

             iii. cause or permit any person acting in concert with any Defendant to commit any
                  act or omission prohibited above.

        h. Any agreement between the parties to resolve the Receiver’s claims against Defendants
           shall be in writing and signed by both parties.



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        i. On or before October 17, 2018 the Receiver shall advise the Court whether the parties
           have reached an agreement to resolve the Receiver’s claims against Defendants.

        j. Any agreement between the parties to resolve the Receiver’s claims against Defendants
           shall be subject to the Court’s approval, after appropriate notice and hearing.


        If the parties do not reach an agreement to resolve the Receiver’s claims against

Defendants, the Receiver may amend the Complaint within 21 days as a matter of course, and

thereafter with this Court’s permission, to state further factual allegations against Defendants.

        The Receiver separately may move the Court to consider and, if it approves, enter the

proposed Scheduling Order for Summary Proceedings if the parties do not resolve the Receiver’s

claims against Defendants.




        DATED: _____________                  ________________________________
                                              Honorable Carlton W. Reeves
                                              United States District Judge




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